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Agent Matt Bryant (00:01):
She's sending me some records.

Jeffrey Lowe (00:03):
Yeah, what I was trying to do was, I was trying to get copies of everything that we had spent at Quick
Signs, because I'm trying to put together a tax return, and Joe destroyed all those. So when I called him
and asked him for all of the invoices that were work ordered from the zoo, he acted like he wouldn't
give them to me until he talked to you.

Agent Matt Bryant (00:30):
Okay

Jeffrey Lowe (00:32):
And I think it's because Joe went in and had him retroactively change all of the invoices to say the animal
park to his political campaign.

Lauren Lowe (00:44):
Well-

Jeffrey Lowe (00:45):
So, I don't know...

Lauren Lowe (00:47):
Well, he's also scared because him and Joe got into it, apparently. I didn't know about this till later on,
until the guy told me. He said that he came into the zoo to confront Joe about a bounced check, and him
and Joe went at it, and Joe threatened to kill him. And so he's scared Joe's going to get out, and if he
gives us all this information, he's scared Joe's going to kill him.

Agent Matt Bryant (01:11):
[inaudible 00:01:11] I didn't know that that had happened. So Joe had made a threat towards this guy?

Lauren Lowe (01:17):
Yeah.

Agent Matt Bryant (01:18):
That might be good [inaudible 00:01:20] for me. You sent me that guy's number before, do you still have
it?

Jeffrey Lowe (01:24):
I can get it. We had to run over to Stillwater and get some KMR. As soon as I get back to the park, I can...
Do you want me to text it to you?

Agent Matt Bryant (01:33):



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Yeah, just text it, I can't remember. I've got it somewhere, but I'm driving today, too.

Jeffrey Lowe (01:43):
Okay.

Agent Matt Bryant (01:43):
Yeah, but if you could come by and give it to me, and I'll call him. If he'll tell me that same thing, then
that'll be good information.

Lauren Lowe (01:50):
Okay.

Jeffrey Lowe (01:50):
Okay. I don't know if you guys want it, and from what we've heard from the veterinary clinic where she
works, you've kind of prepped Beth Corely for trial. We have the entire Beth Corely USDA book, that
goes all the way back, and has all the health certificates where Joe was traveling the country on her
license. And it has all the inventory, as of June 6th of '18, when we kicked Joe off the park on the 12th.
Joe transferred all the cats that went to Texas to himself on the sixth, and he also transferred all those
cats that he was going to kill that night that we stopped him. So I don't know if you guys want it, but
there's a plethora of information in that USDA book that belongs to Beth Corely.

Agent Matt Bryant (02:42):
All right, let me ask the AUSAs if they want it.

Jeffrey Lowe (02:46):
Okay.

Agent Matt Bryant (02:48):
I know we got Beth Corely, she's going to be testifying, that she never okayed anything coming to her
license [inaudible 00:02:56] getting transferred out.

Jeffrey Lowe (02:56):
Right, right.

Lauren Lowe (02:57):
Yeah, she seems very nice. We go to her vet clinic all the time. I've never met her, but all her staff say
really positive things about her.

Agent Matt Bryant (03:07):
Yeah, I like her.

Jeffrey Lowe (03:08):
Oh, and by the way, we fired Bruce for stealing. He was stealing birdcages, and...



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Lauren Lowe (03:17):
He was lying about time-wise, as to work and everything.

Jeffrey Lowe (03:19):
Yeah, he was just...

Agent Matt Bryant (03:19):
He sent me a fax, I think, Saturday, saying, "Just to let you know, Jeff fired me," and I said, "Well, dang,
Bud, I hate to hear that." And that was the end of the conversation on my side.

Jeffrey Lowe (03:33):
Yeah. All right, well, I'm-

Agent Matt Bryant (03:33):
I figured was something was up.

Lauren Lowe (03:33):
And then we found out that Finley was at his house that night.

Agent Matt Bryant (03:35):
What night?

Jeffrey Lowe (03:40):
The night that I-

Lauren Lowe (03:40):
That night.

Jeffrey Lowe (03:40):
... The night that I fired him. Because Bruce lives in Katrina's house, Katrina is the one who worked for
me. And she moved into the mother-in-law suite, and Bruce and his wife rent their house. So as soon as
he was fired, I told Katrina, I says, "You know, if this causes you any grief, any problems, just let me
know, and I'll help you pay your rent or whatever you need." And she says, "Well," she goes, "Finley was
there last night." And I said, "Well, I'm not surprised at all." I said, "He's denied that he had any contact
with Finley all along, and I knew better." And I don't care, I don't tell people who they can and can't
associate with. But according to Katrina, Marsha told her that she's going to tell you, and everyone else,
that she's got amnesia, and can't remember anything about what she told you-

Lauren Lowe (04:29):
And that she's the key witness to this case.

Jeffrey Lowe (04:31):
Yeah, so, just heads up.


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Agent Matt Bryant (04:33):
That's what Marsha said?

Lauren Lowe (04:33):
Yeah.

Jeffrey Lowe (04:34):
Yeah, so just a heads up.

Agent Matt Bryant (04:36):
Yeah. That's fine, she can play that game if she wants to [inaudible 00:04:40].

Jeffrey Lowe (04:40):
Yeah, yeah, yeah. Well, that's their...

Lauren Lowe (04:45):
Just a heads up. That's what we were told.

Agent Matt Bryant (04:48):
Yeah.

Jeffrey Lowe (04:49):
All right, Buddy. Everything else going good? You doing good?

Agent Matt Bryant (04:52):
Yeah, doing good. Just trying to get back in it, we got a month. I don't even want to really think about it,
but I sure wish he would plea...

Jeffrey Lowe (05:06):
Oh yeah, yeah, I know.

Lauren Lowe (05:07):
What?

Jeffrey Lowe (05:08):
Well, he's got right up to the day of court, doesn't he?

Agent Matt Bryant (05:11):
Yup.

Jeffrey Lowe (05:12):
Have they put an offer on the table, or are they just...



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Agent Matt Bryant (05:15):
Yeah, I mean, there's been big time offer. They want him to just be put on probation, and we're like do
you something serious.

Jeffrey Lowe (05:30):
They've offered him just a probation and he turned it down?

Agent Matt Bryant (05:32):
No.

Jeffrey Lowe (05:33):
Oh.

Agent Matt Bryant (05:34):
They came to us and says, "He'll plea to what you want him to if you can give him probation," and have
him be released for time served.

Jeffrey Lowe (05:42):
I got you.

Agent Matt Bryant (05:44):
Amanda was like, "Okay, don't come back to us with any more ludicrous ideas."

Jeffrey Lowe (05:48):
Right.

Lauren Lowe (05:49):
Yeah, I was about to say, he's a serious threat to the society.

Jeffrey Lowe (05:52):
Didn't they realize they kept him in...

Agent Matt Bryant (05:53):
You can't argue in court for a detention hearing to keep him locked up, and then turn around and say,
"Okay, if he's going to plea, then he's no longer a-

Jeffrey Lowe (06:02):
A threat.

Agent Matt Bryant (06:04):
... a threat.

Jeffrey Lowe (06:05):


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Yeah, that's exactly what I was just going to say, but I was taking a different route around that elbow.
But, yeah, it's crazy. Well, I'll pull that Beth Corely book. It'll be sitting here if you want it, if they want it,
fine. I think it might help you. There's a lot of stuff in there that I bet-

Lauren Lowe (06:24):
If you take anything, I have to make copies of it for our records.

Jeffrey Lowe (06:28):
... but I bet she didn't know.

Lauren Lowe (06:31):
I actually gave Beth Corely her... Well, I gave it to one of her staff members to give to her, as to what her
inventory was, and she's like, "Holy Shit." She's like, "I had no idea this was all my inventory."

Agent Matt Bryant (06:43):
Yeah.

Jeffrey Lowe (06:45):
He was just using her to sell cubs and move tigers.

Agent Matt Bryant (06:51):
Yeah, for sure. When you get back this evening or whenever, give me that Quick Sign name.

Jeffrey Lowe (06:56):
Okay.

Agent Matt Bryant (06:56):
Tell you what, ideally just call me.

Jeffrey Lowe (06:58):
Okay. Less paperwork if I call you.

Agent Matt Bryant (07:02):
Yeah.

Jeffrey Lowe (07:03):
All right, brother.

Agent Matt Bryant (07:04):
All right, man, y'all take care.

Jeffrey Lowe (07:05):
All right, talk to you later.


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Lauren Lowe (07:06):
Bye.




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